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EXHIBIT 7

Prepared Remarks Of J ames H. Freis, Jr.,
Director of FinCEN, “The Objeetives and
Conduct of Bank Secrecy Act
Enforcement,” delivered at the ABA Money

Laundering Enforeement Conference, Wash.

D.C., Oct. 20, 2008

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PREPARF.D REMARKS OF JAMES H. FREls, JR.
DIRECTOR, FINANCIAL CRLMES ENFORCEMENT NE,TWORK
U.S. DEPARTMENT or THE TREASURY

“THE OBJECTIVES ANI) CoNt)UC'r or BANK SECRECY ACT ENFORCEMENT”
DELIVERED AT THE ABA/ABA MONEY LAUNDERING ENFORCEMENT CONFERENCE
WASHINGTON, D.C.

OCTOBER 20, 2008

Good afternoon A year ago, I addressed the 2007 ABA/ABA Money Laundering
Enforcement Conference for the first time as the Director of the Financial Crimes
Enforcement Network.l l discussed a series of initiatives undertaken by FinCEN as part
of the Department of the Treasury’s effort to achieve regulatory effectiveness and
efficiency An important part of that effort is our commitment to provide ongoing
feedback to the industries we regulate - especially regarding the powerful messages that
are sent when we exercise our enforcement authority against what amounts to a small
subset of financial institutions that violate the Bank Secrecy Act (BSA).

A year later, l would like to take a further step in this initiative by providing
explicit clarity on the purpose and conduct ofFinCEN’s enforcement program Effective
enforcement is based on the just and consistent application of the rules and enforcement
penalties Misperceptions about these matters will erode the trust and confidence in our
financial system that the BSA seeks to protect. In this regard, FinCEN’s general policy is
to reserve civil money penalties for the most significant and systemic violations of the
BSA. This is a view that I believe the banking industry shares. While lesser BSA
infractions should not be ignored, FinCEN has other vehicles to address these
deficiencies outside of the context of enforcement

By way of example, FinCEN’s enforcement statistics reflect that FinCEN
penalizes financial institutions rarely, and only when appropriate To illustrate filrther,
FinCEN has assessed three civil money penalties under the BSA this year, and only one

 

l See Prepared Remarks of James H. Freis, Jr., Director, Financial Crimes Enforcement Network,
ABA/ABA Money Laundcring Enf`orcement Conference, October 22, 2007, available at
http://www.fineen.gov/news_room/speech/html/Z0071022de

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involved a bank. In 2007, FinCEN assessed five civil money penalties, two against
banks. To put these figures into context, there are tens-of-thousands of financial
institutions subject to the BSA, including over 17,000 depository institutions

My objective today is to go behind the penalty actions and provide a better
understanding of FinCEN’s enforcement program. I will outline the statutory and policy
basis of our enforcement program and the procedures we follow in determining whether a
particular case warrants an enforcement action. l will also discuss global enforcement
actions with other stakeholder government agencies In so doing, I hope to give you a
better appreciation of how FinCEN acts responsibly in holding accountable a financial
institution that flouts its legal obligation.

By making this process more transparent, we hope to assist banks in allocating
resources in a manner commensurate with their actual money laundering and terrorist
financing risks, in furtherance of the goals of the BSA. The ABA/ABA conference today
is an ideal venue for me to share this message with the financial industry and the legal
community that advises them.

I. The Statutory and Policy Basis of BSA Enforcement

FinCEN’s primary purpose is to collect, analyze and disseminate relevant
financial information with a high degree of usefulness in criminal, tax or regulatory
investigations or proceedings or in the conduct of intelligence or counterintelligence
activities related to terrorism. Our enforcement responsibilities are invoked when a
financial institution exhibits a systemic breakdown in BSA compliance that results in a
vulnerability to abuse and/or failures to provide law enforcement and regulatory
authorities with valuable information by way of currency transaction, suspicious activity,
and other reports and records required by the BSA.

An essential principle of FinCEN’s enforcement program is to uphold the public
policy choice made by the Congress when it enacted the BSA in 1970, and expanded it
with the passage of Annunzio-Wylie Anti-Money Laundering Act of 1992, The Money
Laundering Suppression Act of 1994, and the USA PATRIOT Act of 2001 . 2 The very
nature of the BSA relies upon the financial institutions that serve as gatekeepers to
combat money laundering and terrorist financing. To facilitate the detection,
investigation and prosecution of financial crimes, the BSA requires financial institutions
to develop anti-money laundering programs and to make available to the govemment,
through recordkeeping and reporting, information vital to our shared goals in combating
financial crime. FinCEN has a mandate from Congress to take all necessary and
appropriate action to administer the provisions of the BSA, including the assessment of
penalties.3

 

2 See Pub. L. No. 91-508; Pub. L. No. 102-550; Pub. L. No. 103-325; Pub. L. No. 107-56.

3 See Treasury Order 105-08, “Establishment of the Financial Crimes Enforcement Network” (April 25,
1990) (establishi.ng FinCEN as an office within the Departrnent of the Treasury); Treasury Order 180-01,
“Financial Crimes Enforcement Network” (September 26, 2002) (re-establishing FinCEN as a Bureau
within the Treasury Departrnent, pursuant to Section 361 of the USA PATRIOT Act, Pub. L. No. 107-56).

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Monetary penalties are necessary and justified when a financial institution
violates the BSA in ways that enable abuse of the financial system. Under the risk-based
approach to BSA compliance, FinCEN does not expect that banks will develop anti-
money laundering programs meeting an unnecessary and arbitrarily high standard, or will
detect and report every single unusual and suspicious transaction Nonetheless, we must
continue to ensure that anti-money laundering programs are designed and implemented in
a manner to avoid facilitation of illicit financial activity. An effective enforcement
program, applied justly and consistently, Will deter actions or omissions in contravention
of law, and thereby promote more consistent compliance across financial institutions that
is necessary to safeguard the integrity of the financial system as a whole.

FinCEN fully recognizes that anti-money laundering programs should be tailored
to the unique risk profiles of individual banks, and that even a reasonably designed
compliance program will occasionally suffer from minor and isolated compliance
deficiencies Good faith efforts to establish, implement, and maintain a sound BSA
compliance program and to prevent money laundering and terrorist fmancing, will n_ot
result in the assessment of penalties However, if a bank fails to establish and maintain
an anti-money laundering program reasonably designed to ensure compliance with the
BSA, or deprives law enforcement of valuable information by failing to report currency
and suspicious transactions in accordance with the law or regulation, FinCEN may assess
penalties under the provisions of the BSA.4

For example, in one case, FinCEN issued a civil money penalty against a bank for
failure to implement an anti-money laundering program with adequate controls,
independent testing and other measures to detect and report potential money laundering,
terrorist financing and other suspicious activity, These program deficiencies led, in turn,
to the bank's failure to file accurate and complete and/or timely suspicious activity reports
involving tens of millions of dollars, including with respect to wire transfers to regions of
the world with elevated risk. The bank also improperly exempted customers involved in
higher-risk activities, resulting in hundreds of CTRs not being filed.

The banking industry has consistently responded in good faith and adapted to long
standing and recently promulgated obligations of the BSA. The opinion that BSA
compliance on a national basis has improved, perhaps significantly, is further supported
by the number of penalty actions recently issued by FinCEN. In the vast majority of
suspected BSA violations referred to FinCEN, we have not imposed any penalty
following our careful evaluation of the alleged violations and whether a penalty is
warranted

To illustrate, since January l, 2006, FinCEN has received 593 referrals of
significant BSA deficiencies from our federal and state regulatory partners Of these
matters, 6 percent (3 8) were transferred to our Office of Enforcement for investigation
and only about 2 percent (14) resulted in civil money penalties To put these low
percentages into further perspective, the referrals to, and penalties imposed by, FinCEN

 

4 31 u.s.c. § 5321, 5322.

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were spread among tens of thousands of financial institutions under our purview
including banks, broker-dealers, casinos and money services businesses (MSBs).5

We hope to continue to facilitate the trend toward improved BSA compliance, on
a national basis, with our guidance, outreach and educational efforts Our upcoming
Chapter X initiative will provide a simplified, centralized and industry specific
codification of the BSA for the banking industry and other financial services industries
including those recently brought under the BSA umbrella that lack an historical
perspective on BSA compliance, The regulations will be reorganized and numbered
under a new chapter entitled Title 31 Chapter X, Financial Crimes Enforcement Network.
The conceptually simple step of making the rules more accessible and easier to
understand will facilitate compliance,

II. Civil Money Penalty Actions
A. Purpose

The overarching goal of FinCEN in the conduct of its enforcement program is to
ensure BSA compliance, on a national basis, to make financial institutions hostile to
abuse by criminal actors and to preserve the flow of valuable information to appropriate
authorities and assist in the detection, investigation and prosecution of money laundering,
terrorist financing and other financial crimes While financial institutions that violate the
law should be held accountable, as appropriate and warranted, we do not pursue
enforcement actions against financial institutions for technical, isolated failures to
comply with the BSA, including the untimely filing of currency transaction and
suspicious activity reports

We also do not pursue enforcement actions in instances where we may disagree
with a financial institution’s reasoned judgment in good faith regarding the development
and implementation of its anti-money laundering program, under the risk-based approach.
We consider enforcement actions only when a financial institution exhibits a systemic
breakdown in BSA compliance that results in relatively significant violations of the
reporting, recordkeeping and other obligations of the BSA.

B. Penalty Provisions
The BSA authorizes penalties from $500 to $50,000 for negligent violations of

the BSA.6 However, understanding the challenges that accompany compliance with the
BSA, FinCEN has not historically assessed penalties for negligent violations of the BSA.

 

5 The financial institutions subject to the BSA include approximately 17,000 depository institutions (Banks,
'I`hrifts and Credit Unions), 5,000 Broker/Dealers, over 8,000 Mutual Funds, 1,700 Insurance Companies,
197 Futures Commission Merchants (FCMs), 1,700 Introducing Brokers in Cornrnodities (IBs), 912
Casinos and a multitude of MSBs.

6 For each negligent violation, a penalty of up to $500 is authorized 31 U.S.C. § 5321(a)(6)(A), 31 C.F.R.
§ 103.57(h). F or a pattern of negligent violations, a penalty of up to $50,000 is authorized. 31 U.S.C. §
5321(a)(6)(B). The penalty for violations of international counter money laundering provisions is
authorized without a willfulness requirement 31 U.S.C. § 5321(a)(7).

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The most significant civil penalty provisions of` the BSA apply to parties “willfully
violating” the BSA.7 Concentrating the enforcement program penalties on Willful
violations furthers our objectives by taking action for the most significant and systemic
violations of the BSA, rather than punishing financial institutions for less severe
infractions under the negligence provisions of the BSA.

Furthermore, when FinCEN assesses penalties against financial institutions We
generally do so on a scale far smaller than the maximum penalties authorized by law.
The BSA authorizes civil money penalties of $25,000 per day for failure to implement an
adequate anti-money laundering program.8 For each failure to timely file a suspicious
activity report or currency transaction report, an institution is liable for a penalty of the
greater of $25,000 or the amount of the transaction, up to $100,000.9

Many of the recent enforcement actions at FinCEN have involved failures to
implement adequate anti-money laundering programs stretching over periods of several
years, and resulting failures to file hundreds or thousands of reports in accordance with
the BSA, subjecting the entity to civil money penalties of tens of millions or even
hundreds of millions of dollars FinCEN believes we have exercised our authority
responsibly with appropriate discretion. In all cases thus far, we have assessed penalties
in amounts significantly lower than the maximum authorized by the statute.10

C. Enforcement Process

To determine whether to impose a monetary penalty, the Office of Enforcement
evaluates many factors including the volume, severity, types, time span, repetitiveness
and nature of the violations We also consider the comprehensive nature and timeliness
of any corrective action undertaken by the institution, and whether the violations were
self-discovered, or discovered by regulatory examination or law enforcement
investigation Whether the institution is subject to other supervisory or law enforcement
actions may also influence our final disposition of a case.

For example, in global proceedings with the federal banking agencies (FBAs)
and/or U.S. Department of Justice, FinCEN views the case in an aggregate context
incorporating other penalties and mandates for remedial actions into our final penalty
calculations In addition, barring extraordinary circumstances we consider the financial
health of the institution and the likely economic effect of our enforcement action to avoid
unreasonable or unwarranted consequences for the financial institution and its

 

7 See, §g;, 31 U.S.C. § 5321(a)(l). See also 31 C.F.R. § 103.57(a)-(c), (e)-(g).

s 31 U.S.C. § 5321(a)(l). Furthermore, a separate violation occurs at each office, branch, or place of
business at which a violation occurs or continues _Ic_f.

° 31 U.S.C. § 5321(a)(1); 31 C.F.R. § 103.57(0.

'° The BSA authorizes civil money penalties for additional violations of the BSA, including the following:
for structured transaction violations, up to the amount of the transactions 31 U.S.C. § 5321(a)(4), 31 C.F.R.
§ 103.57(e); for violations of recordkeeping requirements up to $1,000, 31 C.F.R. § 103.57(c); for
violations of international counter money laundering provisions, two times the amount of the transaction,
up to $l million, 31 U.S.C. § 5321(a)(7). FinCEN may also seek injunctive actions Injunctive actions
against violations of the BSA are also authorized. 31 U.S.C. § 5320.

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shareholders and customers In assessing each of these factors the Office of
Enforcement weighs the full body of evidence to arrive at a reasonable, fair and equitable
resolution of the case.

Depending on the matter, FinCEN will develop evidence and review other
relevant materials including reports of examinations cease & desist orders memoranda
of understanding, supervisory letters and other enforcement related supervisory tools.
The information that FinCEN receives from the FBAs, or directly from banks sometimes
includes transaction reviews for suspicious activity, FinCEN does not incorporate the
results of transaction reviews into enforcement cases on a strict liability basis We
analyze the results of a transaction review critically, and exclude certain types of
suspicious activity reports generated from the review as potential reporting violations in
enforcement matters '

We view transaction reviews as part of the remediation process which can, if
conducted in a good faith manner, serve as a mitigator in enforcement matters That said,
FinCEN cannot ignore the fact that an ineffective anti-money laundering program
resulted in the filing of suspicious activity reports on a delinquent basis Each case is
different and viewed in its entirety, including the volume, dollar value, time-span and
nature of the suspicious activity reported, as a result of the transaction review. 12

FinCEN understands that these transaction reviews normally conducted at the
direction of supervisory authorities are expensive, time-consrnning and resource-
intensive for banks and we acknowledge the industry’s concerns about them. However,
while I cannot speak for my colleagues at the FBAs, we can assure you that transaction
reviews are judiciously undertaken, recognizing the costs borne by all parties
Transaction reviews often provide law enforcement users of BSA data with valuable
information that Would have otherwise gone unreported. Moreover, transaction reviews
provide a financial institution with a fairly detailed assessment of the effectiveness of its
suspicious activity reporting compliance program Undertaking a transaction review
subjects an institution’s compliance program to a stringent test of the effectiveness of its
systems and controls for transaction monitoring and reporting, and the results can assist
an institution in identifying and remedying flaws in its compliance program.

If the Office of Enforcement determines that the assessment of a civil money
penalty may be warranted, it will initiate an iterative process to determine whether a
penalty is necessary and, if so, the appropriate penalty amount. FinCEN always provides
the fmancial institution a full understanding of the BSA charges and the opportunity to
provide additional facts and perspective on the matter. The process begins when the
Office of Enforcement issues a charging letter describing in detail the facts of the case

 

" The types of suspicious activity reports typically excluded are supplemental or amended forms voluntary
or cautionary forms and forms filed within a reasonable amount of time after the expiration of the 30 or 60
day requirement to accommodate the investigative and review process within the financial institution

12 FinCEN has required transaction reviews for compliance with the currency transaction reporting
requirements for many years and may also incorporate the findings of these reviews into its enforcement
cases.

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and the nature of the BSA violations The letter also invites a response from the financial
institution with any information relevant to whether a civil money penalty is warranted
for the alleged violations The Office of Enforcement will review the institution’s
response, engage in settlement negotiations and determine whether a penalty is
warranted.

In determining the appropriateness and amount of a civil money penalty, FinCEN
weighs all the relevant facts and circumstances of each case. A significant challenge to a
consistent enforcement policy at FinCEN is the incredible diversity of financial
institutions under our jurisdiction Recent enforcement actions at FinCEN have
encompassed small convenience stores with money services business operations casinos
broker/dealer firms and large banks

In the vast majority of cases FinCEN concludes matters by consent Based on
historical experience, settlement negotiations between FinCEN and banks have proceeded
in a very orderly manner due in large part to cooperation by the banks and the
comprehensive information FinCEN provides to financial institutions about the nature of
the BSA charges If a financial institution refuses to enter into consent with FinCEN, we
are authorized to assess a penalty, The matter would then be referred to the U.S.
Department of Justice, Civil Division, Federal Programs Branch, for potential litigation
“de novo” in a U.S. District Court.13

A notable point is that during customary settlement negotiations with FinCEN, the
final terms and conditions of settlements are offered for consent. Upon refusal to enter
into consent with FinCEN, any such offers including the dollar amount of the penalty,
are generally withdrawn and no longer available to the financial institution. As a result,
the Department of Justice could seek a higher penalty, including amounts up to the
maximum allowed by law.

In matters involving joint or concurrent enforcement actions the civil money
penalties are divided among FinCEN, the primary federal regulatory agency, and any
state regulatory agencies involved in the enforcement action. FinCEN’s share of the civil
money penalties are deposited into the Department of the Treasury’s General Fund and
not retained by FinCEN for any purposes

Civil money penalties assessed by the FBAs, under Title 12 for BSA based
violations are also sent to the General Fund at Treasury. As evidenced by our recent
cases FinCEN can deem its portion of the penalty as satisfied by penalties imposed by
other federal or state regulatory agencies or penalties and forfeitures by the U.S.
Department of Justice, As stated previously, this approach allows FinCEN to view the
final disposition of matters in an aggregate and complete context.

D. Public Notice of Enforcement Actions

 

'3 31 u.s.c. § 532i(b)(2).

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To provide interested parties with insight into the conduct of our BSA
enforcement program, we prepare consent and assessment documents for each civil
money penalty action. The assessments are published on our public website.14 These
assessment documents provide fairly detailed descriptions of the underlying conduct that
led to each penalty and the BSA provisions violated by the financial institution We
understand that the financial industry watches closely FinCEN’s enforcement actions and
as we have stated iri support of the effectiveness and efficiency initiatives announced by
Secretary Paulson iri June 200'7, we are committed to ensuring that when we take
enforcement actions we provide as much information as possible about the underlying
facts and violations of law that led to the penalties '5

We hope that these assessment documents provide some benefit to financial
institutions in reviewing and responding to the risks of their operations with respect to
money laundering and terrorist financing Our enforcement actions are by nature reactive
to the unique events circumstances and conduct in each case. As a result, our assessment
documents are not intended to serve as guidance. Nevertheless, when passages in our
assessments address compliance issues of concern to the industry, we expect that
financial institutions will take them into account in the development and implementation
of risk management strategies

I would like to re-emphasize that FinCEN closes many matters involving
breakdowns in BSA compliance without monetary penalties because the overall
commitment of the financial institutions was at a level that outweighed the breakdowns
In arriving at the appropriate resolution of such cases FinCEN does not focus exclusively
on the deficiencies and violations Instead, we view violations in the context of the
institution’s entire anti-money laundering program, including management of the risk
profile and the cost and resource commitment required to establish and maintain a sound
program. FinCEN’s enforcement program aims to support the overall goal of promoting
compliance with the BSA, to further the anti-money laundering and counter terrorist
financing objectives we all share.

III. Interagency Collaboration

In exercising our statutory authority, FinCEN works closely with a wide variety
of federal and state regulatory and law enforcement agencies FinCEN’s authority to
examine institutions for compliance with the BSA has been delegated to the five federal
banking agencies - the Board of Govemors of the Federal Reserve System, the Office of
the Comptroller of the Currency, the Federal Deposit Insurance Corporation, the National
Credit Union Adrninistration and the Office of Thrift Supervision - and to the Sccurities

 

'4 http://www.finccn.gov/ncws room/ca/.

15 See Bank Secrecy Act Effcctiveness and Ef`ficiency Fact Sheet, available at
http://www.fincen.gov/news_roomfrp/rulings/pdf/bsa_fact_sheet.pdf; Prepared Remarks of James H. Freis,
Jr., Director, Financial Crimes Enforcement Network, ABA/ABA Money Laundering Enforcement
Conference, 9-10 (Oct. 22, 2007). http:/'/www.fincen.gov/news_rooin/spcech."pdf}'20071022.pdf

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and Exchange Commission, the Commodity Futures Trading Commission and the
lnternal Revenue Service.16

FinCEN benefits from leveraging the resources and knowledge of the supervisory
agencies To establish procedures for the sharing of reports of examinations and other
inforination, FinCEN has entered into memoranda of understanding (MOUs) with each of
these federal agencies and with state regulators17 Under the MOUs, FinCEN receives
referrals of suspected BSA violations discovered during the examination process from the
Federal financial regulators the Intemal Revenue Service and forty-six state regulatory
agencies

These MOUs are vital to FinCEN’s role as administrator of the BSA. The MOUS
provide an infrastructure for information sharing and close collaboration between
FinCEN and the examination authorities I would like to underscore that FinCEN uses
the system created by the MOUS to further ensure a consistent and uniform approach to
compliance and enforcement efforts across the spectrum of the financial service
industries covered by the BSA.

As you might imagine, as the financial services industry evolves, we continue to
consider the application of the BSA to additional financial service providers and
accompanying supervisory or oversight authorities and we will build upon the success of
the MOU process with our federal and state regulatory partners We will also use the
information obtained under the MOUS to facilitate improved compliance with the BSA
by way of our guidance, outreach and educational efforts

Whenever possible, FinCEN and the regulators seek to conduct joint and
concurrent enforcement actions as warranted, against financial institutions that violate
the BSA. FinCEN retains authority to take enforcement actions for violations of the BSA
found by the regulatory agencies acting under delegated authority.18 The FBAs retain
separate authority to conduct enforcement actions such as cease and desist proceedings
for unsafe or unsound practices or violations of law, rule or regulatiori.]9 While FinCEN
and the FBAs operate under distinct jurisdictional authorities we have built an
infrastructure that fosters close collaboration on BSA enforcement matters As a result,
we are normally able to proceed jointly and concurrently, as warranted, to better ensure a
consistent and uniform approach to BSA enforcement

 

“‘ See 31 c.i=.n. § 103.56(o). FinCEN has also doiogaiod authority for investigating criminal violations of
the BSA and its implementing regulations to the Department ofHomeland Sccurity (fon'nerly the
Commissioner of Customs) with respect to violations of the requirement to file reports of transportation of
currency or monetary instruments and to the Commissioner of Intemal Revenue with respect to other
violations of the BSA. 31 C.F.R. § 103.56(c).

17 As of Seplembcr 30, 2008, FinCEN had executed MOUs with the FBAs, the Intemal Revenue Service,
the Securities and Exchange Commission, and 46 state and territorial regulatory agencies E, §g;,
http://www.treas.gov/prcss/rclcases/renorts/finccnbankiriurcgulatorsmou.pclt`(Memorandum of
Understanding between the Board ofGovernors of the Federal Reserve Systcrn, Federal Deposit lnsurance
Corporation, National Credit Union Administration1 Financial Crimes Enforcement Network, Office of the
Comptroller of the Currency, and Office of Thrif`t Supervision).

w See Treasury Ordcr 180-01.

“’ 12 U.s.C. § isis(b).

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Since January 1, 2005, 68 percent of civil money penalty cases undertaken at
FinCEN have involved joint or concurrent penalty actions with other stakeholder federal
or state agencies including the U.S. Department of Justice, A vast majority of the
penalty actions not concluded jointly involved non-bank financial institutions
particularly casinos and money services businesses for which FinCEN retains exclusive
regulatory penalty authority.

The conduct of interagency collaboration and information sharing in addressing
violations of the BSA is initially the responsibility of FinCEN’s Office of Compliance.
Congress amended the BSA to mandate the formation of the Office of Compliance.20
The Office of Compliance was established in the later part of 2004, and continues to
build staff and experience to strengthen relationships and communication with our federal
and state regulatory partners under the MOUs.21

Moreover, the Office of Compliance conducts the initial review of BSA
violations in collaboration with our partner agencies Under the terms of the MOUs,
when an agency determines through the examination process that a financial institution
has exhibited significant BSA violations or deficiencies it will refer the case to FinCEN
for parallel review. The Office of Compliance may also develop cases through self-
disclosure by an institution or through review of BSA data. In each instance, the Office
of Compliance will use the information provided by our partner agencies and from other
sources to assess the severity of the unique noncompliance issues in each case.

The majority of matters received by FinCEN under the MOUs are reviewed and
closed by the Office of Compliance. The Office of Compliance may decide to close the
case with no further action, close the case with a notification letter (previously called a
cautionary or waming letter), or present the matter to FinCEN’s Regulatory Enforcement
Committee. Closure with no further action has been the most frequent outcome, followed
by closure with a notification letter. The Regulatory Enforcement Committee at FinCEN
convenes monthly to determine whether certain matters should be transferred to our
Office of Enforcement for investigation.

The low percentage of cases considered for enforcement action (6% of referrals)
and the even lower percentage of cases that result in civil money penalty actions
(approximately 2% of referrals) reflects the discretion FinCEN exercises in the conduct

 

2° 31 U.s.c. § 313(a)(7)(B).

2' The Office of Compliance also represents FinCEN in interagency work with the Federal Financial
Institutions Examination Council, including participation in any updates or amendments to the Bank
Secrecy Act/Anti-Money Laundering Examinatr`on Manual, which preserves a consistent approach to anti-
money laundering compliance among federal and state supervisory agencies 'l`he Council also enables a
consistent examination approach with respect to new rules promulgated under the BSA. The Manual
together with the body of any new rule, including the preamble, guidance and educational outreach all
serve as vital tools in adapting to new requirements While notice of BSA rules are always provided well
in advance of` effective dates we recognize that systems controls personnel, training and other measures
must be put iri place to adapt to new requirements

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of its enforcement program. Simply stated, FinCEN proceeds against banks with
monetary penalty actions only in the most significant and systemic cases

Historically, most BSA enforcement actions have been civil in nature. More
recently, a number of significant cases have involved concurrent civil and criminal
actions by FinCEN, the FBAs and the U.S. Department of Justicc. The U.S. financial
system remains an attractive vehicle for money launderers and other illicit actors and
when financial institutions themselves engage in money laundering or willfully violate
the BSA, a combination of civil and criminal enforcement actions may be the appropriate
response by the government22 Whenever possible, we strive to coordinate civil and
criminal enforcement actions to avoid multiple government actions against the same
financial institution at different times for the same or related conduct

While the decision and the responsibility to institute criminal actions for BSA
violations rest exclusively with the U.S. Department of Justice,23 when concurrent civil
and criminal actions against a financial institution are contemplated, the U.S. Department
of Justice, FinCEN and the appropriate FBA will collaborate on potential civil or criminal
charges under our respective jurisdictions including the collateral consequences of a
prosecution and the appropriateness of civil and/or criminal remedies by the U.S.
Government.

Concluding Remarks

In the conduct of our enforcement program, FinCEN seeks to strike an important
balance We view BSA compliance as a matter of national security in the context of

 

32 The BSA authorizes criminal money penalties and prison terms for willhi| violations 31 U.S.C. § 5322;
31 C.F.R. § 103.59. Financial institutions also may be liable for criminal money laundering offenses under
Title 18 ofthe U.S. Codc. Applicable provisions ofTitle 18 include laundering ofmonetary instruments
18 U.S.C. § 1956; monetary transactions in criminally derived property, 18 U.S.C. § 1957; conducting an
unlicensed money transmitting business 18 U.S.C. § 1960; and false statements 18 U.S.C. § |001.
Property involved in transactions in violation of Sections 1956, 1957 or 1960 of Title 18 is subject to civil
and criminal forfeiture 18 U.S.C. § 981, 982.

13 The Department of Justice laid out the principles that it will follow in prosecuting business organizations
in a Memorandum from Deputy Attomey General Paul J. McNulty entitled Principlcs of Federal
Prosecution of Business Organizations (December 12, 2006) (the “McNu|ty Memorandum”). g:_e_
httn://www.usdoi.gov/dag/snccches/2006/mcnulrv mcmo.pdf. The Department of Justice codified these
principles iri Title 9, Chapter 9-28.000 of the United States Attorney’s Manual, revised in August 2008.
B Princip|es of Federal Prosccution of Business Organizations USAM 9-28.000, available at
http://www_usdoj.gov/opajdocuments/corp-charging»guidclines.pdf.

24 To address the concern that United States Attomcys may prosecute financial institutions for money
laundering in a manner inconsistent with the Department ofthe Treasury’s application of the BSA and its
implementing regulations the Department ofJustice, in consultation with the Department of the Treasury,
amended the United States Attorneys’ Manual to require that all money laundering prosecutions of
financial institutions be coordinated with, and approved by, the Criminal Division. United States
Attomeys’ Manual, 9-|05.300. Furthermore, the Department of`Jl.lstice stated the following in the
McNulty Mecnorandum and in Title 9, Chapter 9-28.000 of the United States Attomey’s Manual: “Many
corporations operate in complex regulatory environments outside the normal experience of criminal
prosecutors Accordingly, prosecutors should consult with relevant federal and state agencies with thc
expertise to evaluate the adequacy oi`a program’s design and implementation.” B McNulty
Memorandum at 15; USAM 9-28.800.

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combating money laundering and terrorist financing. At the same time, we must carry
out this mission in a way that avoids unwarranted costs to the industry and does not
punish good faith efforts at compliance FinCEN strives to never lose sight of the
broader goal that Congress intended - the co-dependent and value added nature of the
partnership between the government and the financial industry to fight crime. Neither of
us can afford to let the other partner down. We believe that we have achieved this
balance in the conduct of our enforcement program, and We intend to maintain it in the
future.

While the purpose of today’s speech was to lay out the statutory and policy basis
and practical application of FinCEN’s enforcement program, I also hope my remarks
today will help those involved in possible actions as well as those who learn of a penalty
from a public notice, to better understand how and why the action has occurred.

I would like to add one final piece of context that is relevant to understanding
FinCEN’s approach to BSA compliance and enforcement actions. We use the lessons
learned from our review of BSA compliance cases, whether referred by the examining
authority or developed internally, to support our broader regulatory and outreach efforts.
As we assess priorities to administer the BSA, we note issues that will most likely have
broad application and where the financial industry could benefit from addressing
compliance deficiencies or perceived ambiguities in the BSA.

For example, when patterns of noncompliance indicate a lack of clarity or
understanding in some aspect of the regulations, this observation may spur additional
public guidance on our website or be considered in future iterations of the FFIEC
Examination Manual. We continuously review and reassess our regulatory framework,
based not only on the evolution of risks but also to facilitate better compliance, with our
outreach efforts, Regulatory Helpline, speaking engagements, guidance materials and
codification of the BSA such as our soon-to-be proposed revisions to the definition of
MSBs, which I previewed in my speech here last year.25 Whether we focus on educating
the financial industry as to risks, or on enforcement actions as we have done today, in the
exercise of all of FinCEN’s authorities, we must never lose sight of the purposes behind
the BSA.

I look forward to ongoing dialogue with you about FinCEN’s enforcement
program. Participating in events such as this one is essential to increasing our
understanding of each other’s concems, and our efforts will foster effective cooperation
between the public and private sectors that will help us to achieve our collective goals.
Thank you for your time.

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25 See Prepared Remarks ofJarnes H. Freis, Jr., Director, Financial Crimes Enforcement Network,
ABA/ABA Money Laundering Enforcement Conference, at
http://www.fincen.gov/news_room/speech/pdf/2007l022.pdf.

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